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                Exhibit 3-
            Character Letters
    United States of America v. Thomas Moir,
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             Exhibit 3-A
Letter from Lorraine Moir
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             Exhibit 3-B
Letter from Raymond Moir
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             Exhibit 3-C
Letter from Jeffrey Kappin
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             Exhibit 3-D
Letter from Daniel Moring
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Dear Judge Bates:                                                               August 29, 2019

I write to beseech that you apply leniency and compassion in your sentencing of my dear friend,
Thomas Ian Moir. I have known Tom for 20 years, since we started our undergraduate education at
Macalester College in the fall of 1999. We have been fast friends since our first meeting; his intellect,
curiosity, and compassion made a strong impression. I urge you to consider the totality of his past
and person, and the depth of his contrition, as you render your judgment on his fate.

I have not only known but lived with Tom on three separate occasions: the school year of 2000-2001,
and again in Washington, DC from 2009-2011. This proximity allowed me to gain a close
understanding of and appreciation for Tom and his many exceptional personal attributes.

I had many challenges during my undergraduate years, and Tom provided me the intellectual and
emotional support to face and overcome my insecurity and depression. He was always a kind and
caring partner to listen, understand, and analyze my personal difficulties and help me chart a path
forward.

This generous and earnest concern has surfaced again and again throughout our relationship. Tom
has shown exceptional compassion and charity on numerous occasions. He extended his personal
credibility to help me secure a job in Washington, DC in 2008—a move that affected the rest of my
life. When we lived together in 2009 and I found myself unemployed, Tom generously shared
resources and covered my share of household expenses as I reoriented my life and career. Beyond
material support, he provided earnest and sincere advice and comfort—and continues to today as we
exchange letters. Because of Tom’s friendship, kindness, and support, I am the person I am today: an
urban planner working on enhancing efficient, sustainability, and equity in the built environment.

Tom’s generosity and concern is not limited to his personal circle. I have performed community
service with him on numerous occasions, including clean ups of schools and natural areas.

I know that Tom is earnestly and profoundly regretful and contrite for his actions, and focused on
repaying his debt to society. He is eager to repair the harm he has caused, and is so deeply affected
by the consequences that he will never repeat such offenses. I personally pledge to do everything in
my capacity to help him transition back to society after the sentence you decide.

Your compassionate judgment would inure benefits not just to Tom, but to his friends, family, and
society at large. He has a young son that needs a connection to his father; any reduction in sentencing
will provide invaluable time to heal deep wounds.

I thank you for the opportunity to share my experience as Tom’s friend for so many years, and hope
that you will consider this testimonial as you render your judgment.

Sincerely,


Daniel Seeley Moring
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              Exhibit 3-E
Letter from Warren Hindley
     Case 1:19-cr-00211-JDB Document 20-2 Filed 09/25/19 Page 15 of 28




Dear Judge Bates:                                                          August 16th 2019




I write to provide you insight to the side of Tom that I know, in hopes it will inform your
sentencing decision. I moved to Washington, DC from the UK in early 2008 and I met Tom
on a fishing trip; we quickly became good friends. I lived with him in 2009 until we both
moved in with our significant others, and started families of our own. Our families are good
friends.

Tom is a humble person, not driven by money or materialism. He has a strong desire to be a
productive member of society and a need to solve problems. Late last year he explained he
had the opportunity to move into lobbying with a substantial pay increase. After a short
deliberation he ultimately decided against it, instead opting to remain a public servant. Many
of his career frustrations were with not being able to help more.

He was always willing to put other people first. In July 2012, we purchased an inflatable boat
and attached a small outboard motor to use on a camping / fishing trip. We naively forgot
to register it, and were cited by the park police. Without asking, Tom selflessly stepped
forward and took responsibility for the challenge. . Tom knew I wasn’t a US Citizen and that
any fine/ticket could jeopardize my immigration status. I never asked and knew that it could
possibly impact his job as a lawyer.

Tom knows he’s committed a reprehensible crime and is deeply remorseful. He is ready to
accept whatever sentence is passed. I know he will do his utmost to pay his debt to society
at every opportunity over the coming years, both during incarceration and after his release.
Hastening his release will allow him precious time to repair the damage to society at large,
and to the people around him who continue to support him. I urge you to consider his
character and capability beyond this crime, and be compassionate but just in your judgment.




Sincerely




                        ,

Warren Hindely
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              Exhibit 3-F
Letter from Matthew Engle
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             Exhibit 3-G
  Letter from Kelly O'Neill
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             Exhibit 3-H
Letter from Robert and Sally
           O'Neill
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               Exhibit 3-I
   Letter from Susan Tilson
     and Todd Thurston
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               Exhibit 3-J
 Letter from Molly O'Neill
            Moir
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29 August 2019

Molly O’Neill Moir




The Honorable John D. Bates
United State District Court
District of District of Columbia
333 Constitution Avenue, NW
Washington, DC 20001


Honorable Judge Bates,

My name is Molly O’Neill Moir and I am Tom Moir’s wife. I moved to Washington, DC in May
2007, met Tom in September 2009, married him in December 2013, and had our son,        , in
June 2015.

On January 16, 2019 a search warrant was executed in our home, in front of our four-year-old
son, and our lives were upended. The last 200+ days have been the most heartbreaking of my
life. Every day I mourn the loss of the life, family, and home that Tom and I built and I also help
my son mourn the sudden loss of his father. I was living in Washington, DC up until July 2019
when I made the difficult decision to leave the life I’d built for the last 12 years to move to
Boise, Idaho to be closer to my family to help me raise my son.

Tom is a scholar, a believer in logic and reason, a nature lover, well-read, and patient. While
Tom has exceled in many areas in his life, I saw his highest achievements in his role as a father.
Tom truly loved his time with          – reading together, going on walks, biking to school
together, and learning about nature. Even now, while Tom is in jail, he writes to         almost
every week to tell him about nature and life and sends him drawings. While Tom regrets his
actions and knows the devastation he has caused, I believe that being away from his son, in
these such formative years, is one of the worst outcomes of this situation.

Tom has a sincere understanding that his actions were immoral, wrong, and illegal. As
shattered as I was that Tom had engaged in behavior that was completely out of character for
the man I knew him to be, the one who I believe was more surprised than me was Tom himself.

Tom is sick but can be rehabilitated. I respectfully ask that he be sentenced to a facility that has
a sex offender management program. I believe that Tom would engage fully in a rehabilitation
program and would use his time to build skills to better prepare him for release.
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I have known Tom for a decade and believe his wrongful actions represent an aberration that
he will never repeat.

Thank you, Your Honor, for taking these thoughts into consideration as you deliberate on the
appropriate sentence.


Sincerely,




Molly O’Neill Moir
